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 6

 7                    IN THE UNITED STATES DISTRICT COURT

 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,    )
10                                )      No. 2:08-CR-0225 FCD
                   Plaintiff,     )
11                                )      STIPULATION AND ORDER
              v.                  )      REGARDING DATES FOR
12                                )      TRIAL AND TRIAL CONFIRMATION
     LAPHONE VONGKEO,             )      HEARING
13                                )
                   Defendant.     )
14   _____________________________)

15       The United States of America, by its attorney, Assistant U.S.

16   Attorney Benjamin B. Wagner, and the defendant Laphone Vongkeo, by

17   her attorney, Joseph J. Wiseman, stipulate and agree as follows:

18       1.   At the last hearing in this matter on December 15, 2008, at

19   which Assistant U.S. Attorney Benjamin Wagner was absent, a trial

20   date of April 7, 2009 was set in this case.         Time until that date

21   was excluded pursuant to local code T4.

22       2.   Benjamin B. Wagner is currently the only AUSA assigned to

23   this matter, and he is expected to be out of the state during the

24   week of April 6, 2009.     In addition, on April 7, 2009, it appears

25   likely that he will have just completed a lengthy trial in the

26   complex case of United States v. Jagprit Sekhon, et al., 2:06-CR-

27   0058 FCD.   Both parties agree that a new trial date in late April

28   would assure continuity of counsel and allow both parties reasonable

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 1   time to prepare for trial.

 2       3.   Accordingly, the parties jointly request that:

 3            (a) The current trial date of April 7, 2009, and the

 4            current TCH date of March 16, 2009, be VACATED; and

 5            (b) the Court set a new trial date of April 28, 2009, and

 6            a new TCH date of March 30, 2009.

 7       4.   The parties stipulate that time between the date of this

 8   stipulation and April 28, 2009, be excluded from the running of the

 9   Speedy Trial Act under 18 U.S.C. §3161(h)(8)(B)(iv), Local Code T4,

10   because the failure to exclude such time would deny the parties

11   continuity of counsel and reasonable time necessary for effective

12   preparation for trial, taking into account the exercise of due

13   diligence.

14       So Stipulated and agreed:

15   DATED: 12/30/08                          McGREGOR W. SCOTT
                                              United States Attorney
16
                                            /S/ Benjamin Wagner
17                                       By:___________________________
                                            BENJAMIN B. WAGNER
18                                          Assistant U. S. Attorney

19
                                              /S/ Joseph Wiseman
20   DATED: 12/30/08                          ___________________________
                                              JOSEPH J. WISEMAN
21                                            Attorney for Defendant
                                              Laphone Vongkeo
22

23       IT IS SO ORDERED:

24

25   DATED: January 5, 2009             _______________________________________
                                        FRANK C. DAMRELL, JR.
26
                                        UNITED STATES DISTRICT JUDGE
27

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